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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Mueting, Raasch, & Gebhardt, P.A., and                        Case No. 18-mc-62 (JNE/TNL)
Ann Mueting,

                Petitioners,

v.                                                                          ORDER

PPG Industries, Inc.,

                Respondent.


F. Andrew Ubel, III, 133 Woodlawn Avenue, Saint Paul MN 55105 (for Petitioners); and

Jeffrey D. Klobucar and Lewis A. Remele, Jr., Bassford Remele, P.A., 100 South Fifth
Street, Suite 1500, Minneapolis MN 55402 (for Respondent).


        This matter is before the Court on the parties’ Joint Motion to Transfer Petitioners’

Motion to Quash Subpoenas and for a Protective Order. (ECF No. 9). By way of brief

background, a patent dispute concerning beverage can interior spray coatings is pending

in the United States District Court for the Western District of Pennsylvania between

Sherwin-Williams Co. and PPG Industries. Sherwin-Williams Co. v. PPG Industries,

Case No. 2:17-cv-01023-JFC (W.D. Pa.). 1 PPG Industries, in connection with the

Pennsylvania suit, served subpoenas upon third parties Mueting, Raasch, & Gebhardt,

P.A., and Ann Mueting on August 6, 2018. (Decl. of Andrew Ubel, Exs. 1–2).




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 The case was originally pending in this District but then transferred to the Western District of
Pennsylvania. Valspar Corp., et al. v. PPG Industries, Inc., Case No. 16-cv-1429 (SRN/SER).
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       In their motion, Petitioners “consent[ed] to the Court exercising its discretion to

transfer the instant motion to the Pennsylvania Court for resolution.” (ECF No. 2, at 8,

12–13). The parties have now submitted a joint motion for the transfer of the motion to

quash to the Pennsylvania Court for consideration alongside the underlying litigation.

(ECF No. 9). The parties notes that the “Pennsylvania Court is . . . familiar with the

issues underlying Petitioner’s Motion, which issues overlap with other matters pending in

the Litigation.” (ECF No. 9, at 1).

       Under the Federal Rules of Civil Procedure, “the court for the district where

compliance is required” may quash or modify a subpoena for various reasons. Fed. R.

Civ. P. 45(d)(3). Courts may also transfer a Rule 45 motion “to the issuing court if the

person subject to the subpoena consents or if the court finds exceptional circumstances.”

Fed. R. Civ. P. 45(f). Without consent, the “proponent of transfer bears the burden of

showing that such circumstances are present.” Fed. R. Civ. P. 45 Advisory Committee

Notes to 2013 Amendments. Although the Advisory Committee

       advises courts that “[t]he prime concern should be avoiding burdens on
       local nonparties subject to subpoenas,” it notes that “transfer may be
       warranted in order to avoid disrupting the issuing court’s management of
       the underlying litigation . . . if such interests outweigh the interests of the
       nonparty served with the subpoena in obtaining local resolution of the
       motion.”

In re UBS Fin. Servs., Inc. of Puerto Rico Sec. Litig., 113 F. Supp. 3d 286, 287 (D.D.C.

2015) (quoting Fed. R. Civ. P. 45 Advisory Committee Notes to 2013 Amendments);

Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014). As with all

rules of civil procedure, Rule 45 “should be construed, administered, and employed by



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the court and the parties to secure the just, speedy, and inexpensive determination of

every action and proceeding.” Fed. R. Civ. P. 1.

       Here, this Court agrees with the parties that transfer of Petitioner’s motion to the

Western District of Pennsylvania is the appropriate course of action. First, the parties

request the transfer. Fed. R. Civ. P. 45(f). Second, transfer fits squarely with the aims of

the Federal Rules of Civil Procedure. Id.; Fed. R. Civ. P. 45 Advisory Committee Notes

to 2013 Amendments. The docket in the underlying action shows that a ruling by this

Court on the instant motion to quash would interrupt Chief Judge Joy Flowers Conti’s

management of that litigation. Chief Judge Conti currently is set to hold a status

conference on August 27, 2018 and is considering a similar motion for protective order

regarding subpoenas. As such, Chief Judge Conti’s familiarity with the litigation weighs

in favor of transfer. In re UBS Fin. Servs., Inc. of Puerto Rico Sec. Litig., 113 F. Supp. 3d

at 288 (“Given the lengthy history of prior substantive proceedings in Puerto Rico, Judge

Cerezo is in a better, more informed position to rule on the . . . motion. Transfer[] . . . not

only prevents disruption of Judge Cerezo’s management of this case, but promotes

judicial economy and avoids possible inconsistent results in discovery orders.”); Wultz v.

Bank of China, Ltd., 304 F.R.D. 38, 46 (D.D.C. 2014) (“Due to the highly complex and

intricate nature of the underlying litigation, Judge Scheindlin [of S.D.N.Y.] is in a better

position to rule on the . . . motion to quash or modify the subpoena due to her familiarity

with the full scope of issues involved . . . .”); Patriot Nat. Ins. Grp. v. Oriska Ins. Co.,

973 F. Supp. 2d 173, 176 (N.D.N.Y. 2013) (finding that “[i]n light of its extensive

involvement, as evidenced by the docket in the underlying action . . . the Southern


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District of Florida is far better positioned to hear arguments relating to whether the

disputed subpoena duces tecum seeks documents that are relevant to the underlying

action”); Pactel Pers. Commc’ns v. JMB Realty Corp., 133 F.R.D. 137, 139 (E.D. Mo.

1990) (“[T]he Court finds that the issues would best be decided by the Atlanta court,

which is familiar with the facts of this and the related case, and the posture of the

parties.”).

       Moreover, Petitioners’ main arguments in support of its motion to quash—that the

documents requested are irrelevant, cumulative, and burdensome—weigh in favor of

transfer. Such an argument “emphasizes the need for the court where the underlying

matter lies to decide the matter,” because “the court with the most familiarity with the

case is better positioned to determine whether the documents are indeed relevant” and

could “better balance whatever relevance exists against the need to protect” non-parties.

Patriot Nat. Ins. Grp., 973 F. Supp. 2d at 176. Chief Judge Conti is in a far greater

position than this Court to decide whether and the extent, if any, the testimony and

documents requested by PPG Industries are relevant to the lawsuit.

       Based on all the above, this Court concludes that Chief Judge Conti “has

significantly more knowledge of the case than this court, and therefore that court is better

positioned to make a just and speedy determination” of Petitioners’ motion to quash.

Patriot Nat. Ins. Grp., 973 F. Supp. 2d at 177. Any ruling this Court made on the

contested subpoenas could disrupt Chief Judge Conti’s management of the underlying

litigation. Given that the Federal Rules of Civil Procedure provide a vehicle to transfer




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subpoena-related motions for these very reasons, this Court will employ that option and

transfer the motion to quash to the Western District of Pennsylvania.

      Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

          1. The parties’ Joint Motion to Transfer Petitioners’ Motion to Quash

   Subpoenas and for a Protective Order, (ECF No. 9), is GRANTED.

          2. Petitioners Mueting, Raasch, & Gebhardt, P.A., and Ann Mueting’s Motion

   to Quash Subpoenas and for a Protective Order, (ECF No. 1), is TRANSFERRED to

   the United States District Court for the Western District of Pennsylvania for

   consideration by the Honorable Joy Flowers Conti, Chief United States District Judge,

   in coordination with the related litigation entitled Sherwin-Williams Co. v. PPG

   Industries, Case No. 2:17-cv-01023-JFC.

          3. The Clerk of Court is directed to close this matter once transfer is

   completed.



Date: August 20, 2018                                  s/ Tony N. Leung
                                                Tony N. Leung
                                                United States Magistrate Judge
                                                District of Minnesota
                                                Mueting, Raasch, & Gebhardt, P.A., et al. v. PPG Industries, Inc.
                                                Case No. 18-mc-62 (JNE/TNL)




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